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                      1   Allison V. Saunders (SBN 220010)
                          asaunders@fordharrison.com
                      2   Paul M. Suh (SBN 321028)
                          psuh@fordharrison.com
                      3   FORD & HARRISON LLP
                          350 South Grand Avenue, Suite 2300
                      4   Los Angeles, CA 90071
                          Telephone: 213-237-2400
                      5   Facsimile: 213-237-2401
                      6   Attorneys for Defendants
                          RHEEM SALES COMPANY, INC.;
                      7   RHEEM MANUFACTURING COMPANY
                      8                             UNITED STATES DISTRICT COURT
                      9                            CENTRAL DISTRICT OF CALIFORNIA
                     10
                     11   MICHAEL GOSZ,                                 CASE NO.
                     12                       Plaintiff,
                     13           v.                                    NOTICE OF REMOVAL OF ACTION
                                                                        BY DEFENDANTS RHEEM SALES
                     14   RHEEM SALES COMPANY, INC.;                    COMPANY, INC. AND RHEEM
                          RHEEM MANUFACTURING                           MANUFACTURING COMPANY
                     15   COMPANY, and DOES 1 through                   PURSUANT TO 28 U.S.C. §§ 1332,
                          50, inclusive,                                1441 AND 1446
                     16
                                              Defendants.               Action Filed:    November 10, 2021
                     17                                                 Date of Removal: January 14, 2022
                     18
                     19           TO THE CLERK OF THE UNITED STATES DISTRICT COURT
                     20   FOR THE CENTRAL DISTRICT OF CALIFORNIA:
                     21           PLEASE TAKE NOTICE that Defendants Rheem Sales Company, Inc.
                     22   (“Rheem Sales”) and Rheem Manufacturing Company (“Rheem Manufacturing”)
                     23   (collectively, “Defendants”) file this notice of removal pursuant to 28 U.S.C. §§
                     24   1332, 1441 and 1446.
                     25   I.      INTRODUCTION
                     26           1.      Plaintiff MICHAEL GOSZ (“Plaintiff”) filed a complaint on
                     27   November 10, 2021, in the Superior Court of California, County of Orange, titled
                     28
                          WSACTIVELLP:12818907.2
F ORD & H ARRISON
       LLP
 ATTO RNEY S AT LAW
                                                                                   NOTICE OF REMOVAL OF ACTION BY
    LOS A NG EL ES                                                          DEFENDANTS RHEEM SALES COMPANY, INC. &
                                                                                   RHEEM MANUFACTURING COMPANY
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                      1   “Michael Gosz v. Rheem Sales Company, Inc.; Rheem Manufacturing Company &
                      2   Does 1-50,” Case No. 30-2021-01231132-CU-OE-CJC (the “State Court Action”).
                      3   (Declaration of Paul M. Suh (“Suh Decl.”) ¶¶ 4-5, Ex. A.)
                      4           2.      Pursuant to 28 U.S.C. § 1446(a), a true and correct copy of the entire
                      5   file of record in the State Court Action, including all process and pleadings, and
                      6   orders served upon Defendants in this action, is attached to the Suh Decl. as
                      7   Exhibit A. (Suh Decl. ¶ 5, Ex. A.)
                      8           3.      On January 13, 2021, Defendants filed an Answer to the State Court
                      9   Action. (Suh Decl. ¶ 6, Ex. B.)
                     10           4.      Pursuant to 28 U.S.C. §1446(d), Exhibits A and B constitute all
                     11   process, pleadings and orders served on or received by Defendants and/or filed in
                     12   the State Court Action. To Defendants’ knowledge, no further process, pleadings,
                     13   or orders related to this case have been filed in the Superior Court of California,
                     14   County of Orange, or served by any party. (Suh Decl. ¶ 7.)
                     15           II.     NATURE OF THE SUIT
                     16           5.      The Complaint filed in the State Court Action alleges the following
                     17   causes of action: (1) Harassment in violation of the California Fair Employment
                     18   and Housing Act (“FEHA”); (2) Discrimination in violation of the FEHA; (3)
                     19   Retaliation in violation of the FEHA; (4) Failure To Prevent Discrimination in
                     20   violation of the FEHA; (5) California Family Rights Act (“CFRA”) Retaliation; (6)
                     21   Breach of Contract; (7) Failure to Pay Wages; and (8) Wrongful Termination.
                     22           III.    BASIS FOR REMOVAL: DIVERSITY
                     23           6.      A federal court has “original jurisdiction of all civil actions where the
                     24   matter in controversy exceeds the sum or value of $75,000, exclusive of interest and
                     25   costs, and is between citizens of different states.” (28 U.S.C. §1332(a)).
                     26           7.      “[A]ny civil action brought in a State Court of which the district courts
                     27   of the United States have original jurisdiction, may be removed by the defendant.”
                     28   (28 U.S.C. §1441(a)).
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                      1           8.      Therefore, a state court action may be removed if: (1) the action is
                      2   between citizens of different states, and (2) the matter in controversy exceeds the
                      3   sum of $75,000, exclusive of interest and costs. Each of these requirements are met
                      4   in this case.
                      5           A.      Complete Diversity of Citizenship
                      6           9.      Citizenship of Plaintiff. Plaintiff is a California resident. (Compl. ¶
                      7   2.) “The place where a man lives is properly taken to be his domicile until facts
                      8   adduced establish the contrary.” (Dist. of Columbia v. Murphy, 314 U.S. 441, 455
                      9   (1941)). In the instant case, no facts have been adduced to rebut the presumption
                     10   that Plaintiff is domiciled in California. Therefore, Plaintiff is a citizen of the State
                     11   of California for diversity purposes.
                     12           10.     Citizenship of Defendants. “[A] corporation shall be deemed to be a
                     13   citizen of any State and foreign state by which it has been incorporated and of the
                     14   State or foreign state where it has its principal place of business.” (28 U.S.C. §
                     15   1332(c)(1)).
                     16           11.     Defendants are incorporated under the laws of the State of Delaware.
                     17   (Suh Decl. ¶¶ 8-9, Ex. C & E; Compl. ¶ 7.) Defendants’ principal places of
                     18   business are in Georgia. (Suh Decl. ¶¶ 8-9, Ex. D & F.) Accordingly, Defendants
                     19   are citizens of Delaware and Georgia for diversity purposes.
                     20           12.     The supposed defendants named as “DOES 1 through 50” are sued
                     21   under fictitious names whose alleged citizenship is to be disregarded. 28 U.S.C.
                     22   § 1441(b)(1).
                     23           13.     Because Plaintiff is a citizen of California and Defendants are citizens
                     24   of Delaware and Georgia, complete diversity exists between the parties.
                     25           B.      Amount in Controversy Exceeds $75,000
                     26           14.     A defendant’s notice of removal need include only a plausible
                     27   allegation that the amount in controversy exceeds the jurisdictional threshold.
                     28   Evidence establishing the amount is required only when the plaintiff contests, or the
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                      1   court questions, the defendant’s allegation. (Dart Cherokee Basin Operating Co.,
                      2   LLC v. Owens¸ S. Ct. 547, 554 (2014); see also Sanchez v. Monumental Life Ins.
                      3   Co., 102 F.3d 398, 403-04 (9th Cir. 1996)). As noted in Dart Cherokee:
                      4   “‘[D]efendants do not need to prove to a legal certainty that the amount in
                      5   controversy requirement has been met. Rather, defendants may simply allege or
                      6   assert that the jurisdictional threshold has been met. Discovery may be taken with
                      7   regard to that question. In case of a dispute, the district court must make findings
                      8   of jurisdictional fact to which the preponderance standard applies.’” (Id. [quoting
                      9   House Judiciary Committee Report on the Federal Courts Jurisdiction and Venue
                     10   Clarification Act of 2011, H.R. Rep. No. 112-10, p. 16 (2011)]).1
                     11           15.     Here, the Court can reasonably ascertain from Plaintiff’s complaint
                     12   and his prayer for relief that the amount in controversy exceeds $75,000. The
                     13   assertions of Defendants herein are limited to their preliminary understanding of
                     14   Plaintiff’s claims and data currently available to Defendant. “In measuring the
                     15   amount in controversy, a court must assume that the allegations of the complaint
                     16   are true and that a jury will return a verdict for the plaintiff on all claims made in
                     17   the complaint.” (Kenneth Rothschild Trust v. Morgan Stanley Dean Witter, 199 F.
                     18   Supp. 2d 993, 1001 (C.D. Cal. 2002)). “When a ‘[d]efendant’s calculations (are)
                     19   relatively conservative, made in good faith, and based on evidence whenever
                     20   possible,’ the court may find that the ‘[d]efendant has established by a
                     21   preponderance of the evidence that the amount in controversy is met.’” (Cagle v.
                     22   C&S Wholesale Grocers, Inc., __ F.R.D. ___, 2014 WL 651923, *7 (E.D. Cal. Feb.
                     23   19, 2014) (quoting Behrazfar v. Unisys Corp., 687 F. Supp. 2d 1199, 1204-05 (E.D.
                     24   Cal. 2008) (citations omitted)). Nor do Defendants need to provide summary
                     25   judgment-type evidence. (Cagle, 2014 WL 651923, *7).
                     26
                          1
                     27       The Supreme Court went on to say that “[o]f course, a dispute about a
                          defendant’s jurisdictional allegations cannot arise until after the defendant files a
                     28   notice of removal containing those allegations.” Dart Cherokee¸ 135 S. Ct. at 554.
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                      1           16.     While Defendants deny any liability to Plaintiff whatsoever2,
                      2   Defendants assert, based on the allegations in the Complaint and Plaintiff’s prayer
                      3   for relief, that the amount in controversy exceeds $75,000.
                      4           17.     Plaintiff began working as a District Sales Manager on or around
                      5   March 15, 2016. (Compl. ¶ 15.) Plaintiff alleges he felt targeted and harassed by
                      6   his age, and that on October 2019, he filed a formal complaint regarding age
                      7   discrimination and age harassment.         (Compl. ¶ 9.)      Plaintiff claims that on
                      8   December 5, 2019, Plaintiff underwent open heart surgery and was placed on leave
                      9   from November 21, 2019 to February 4, 2020. (Compl. ¶ 10.) Plaintiff alleges that
                     10   in 2020, he was qualified to receive a bonus for approximately $60,000
                     11   commissions but was never paid for them. (Compl. ¶¶ 11, 62.) Plaintiff alleges he
                     12   was terminated on October 7, 2020. (Compl. ¶ 11.) Plaintiff also claims that he is
                     13   entitled to waiting time penalties pursuant to Cal. Lab. Code § 203, which provides
                     14   that former employees may recover up to 30 days’ wages if an employer willfully
                     15   fails to pay all wages owing at the time of termination. (Compl. ¶ 68.) Plaintiff’s
                     16   claim for waiting time penalties is estimated to be at least $16,692.90 (($87,011.84
                     17   base salary + $60,000.00 alleged earned commissions) / 52 weeks / 5 days per week
                     18   x 30 days).
                     19           18.     By this lawsuit, Plaintiff seeks general and special damages (back pay,
                     20   front pay, and emotional distress), punitive damages, attorneys’ fees and costs,
                     21   injunctive relief and such other relief as the court finds proper. (Compl. at Prayer
                     22   for Relief, p. 10:1-6 as to the First, Second, Third, Fourth, and Fifth Causes of
                     23   Action; p. 11:4 as to the Seventh Cause of Action; p. 11:1 as to the Sixth Cause of
                     24   Action; and p. 11:1-3 as to the Eighth Cause of Action.)
                     25
                     26
                          2
                     27    Defendants in no way concede that Plaintiff is owed lost wages or any damages at
                          all. Further, Defendants do not waive any argument related to Plaintiff’s obligation
                     28   or failure to mitigate lost wages
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                      1           19.     Plaintiff’s annual pay was approximately $87,011.84 per year at the
                      2   time of his termination. Plaintiff’s back wages claim for the 67-week period
                      3   between the date of his termination and the date of removal is more than $112,111.
                      4   Moreover, in establishing that the amount in controversy likely exceeds the
                      5   jurisdictional minimum, a defendant is permitted to calculate the likely back pay
                      6   award from the date of the termination until the date of likely judgment. (See
                      7   Garcia v. ACE Cash Express, Inc., 2014 U.S. Dist. LEXIS 76351, *11 (C.D. Cal.
                      8   May 30, 2014) (it was proper for the defendant to calculate back pay at issue by
                      9   calculating wages in “months between termination and removal…and adding wages
                     10   for the estimated time between removal and trial”); James v. Childtime Childcare,
                     11   Inc., 2007 U.S. Dist. LEXIS 43753, *4, n. 1 (E.D. Cal. May 31, 2007) [plaintiff
                     12   “erroneously assumes that the court includes only those wages lost before removal
                     13   when calculating the amount in controversy. The court evaluates the amount in
                     14   controversy at the time of removal, but it may consider both past and future lost
                     15   wages.”]; see also Chavez v. JP Morgan Chase & Co., 888 F.3d 413, 417 (9th Cir.
                     16   2018) [affirming proposition that damages claimed at the time of removal may be
                     17   calculated through the date of judgment]).
                     18           20.     Plaintiff also seeks to recover future wages. (Huck v. Kone, Inc., No.
                     19   C 10-1845 RS, 2011 WL 31108 at *4 (N.D. Cal. Jan. 5, 2011) [holding that
                     20   plaintiff could potentially recover 13 years’ of lost wages]). Although Rheem
                     21   denies such relief would be appropriate, even one year of front pay would equal
                     22   approximately $87,011.84.
                     23           21.     Plaintiff also seeks to recover an unspecific amount of general
                     24   damages for “emotional distress.” (Compl. at ¶¶ 20, 28, 37, 45, 57, 71.) See Luckett
                     25   v. Delta Airlines, Inc., 171 F.3d 295, 298 (5th Cir. 1999) (indicating that a
                     26   plaintiff’s claims for pain and suffering and humiliation may properly be factored
                     27   into the jurisdictional analysis for purposes of removal); see also Richmond v.
                     28
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                      1   Allstate Ins. Co., 897 F. Supp. 447, 450 (S. D. Cal. 1995) (noting that emotional
                      2   distress damages, although vaguely pled, were potentially substantial).
                      3           22.     Plaintiff has not specifically provided an estimated value for emotional
                      4   distress or non-economic damages. The district court decision in Rivera v. Costco
                      5   Wholesale Corporation, No. C 08-02202 CW, 2008 WL 2740399, *3-4 (N.D. Cal
                      6   July 11, 2008) is instructive on this point. There, a plaintiff filed a FEHA wrongful
                      7   termination claim, but did not specify the amount sought for emotional distress. In
                      8   reviewing jury verdicts in employment discrimination cases, the Court found that
                      9   emotional distress damages in such cases can be “substantial,” noting emotional
                     10   distress awards ranging from $122,000 to $200,000. Ibid. Indeed, jury verdicts in
                     11   wrongful termination cases make clear that emotional distress awards are often
                     12   substantial and frequently awarded in an amount at least twice the underlying
                     13   economic damages, or, at the very least, in the same amount as economic damages.
                     14   See Escoto v. Metric Machining, 2013 Cal. Super. LEXIS 18941, Case No. CIVRS-
                     15   12-06532, Superior Court, San Bernardino County (Nov. 14, 2013) (verdict in
                     16   wrongful termination, disability discrimination, failure to accommodate, failure to
                     17   engage in interactive process, and age discrimination case for $55,000 in “pain and
                     18   suffering,” but only $12,000 in back pay); Izaguirre v. International Coffee & Tea
                     19   LLC, 2013 WL 6624243, Case No. BC486877, Superior Court, Los Angeles
                     20   County (Sept. 26, 2013) (verdict in wrongful termination, disability discrimination,
                     21   failure to accommodate, failure to engage in interactive process, and retaliation case
                     22   for $80,000 in “noneconomic damages,” but only $40,000 in economic damages);
                     23   Cho v. B & B Pharmacy and Healthcare Center, 2011 WL 8227178, Case No.
                     24   VC055584, Superior Court, Los Angeles County (July 13, 2011) (verdict in
                     25   wrongful termination, pregnancy discrimination, and harassment case for $75,000
                     26   in “noneconomic loss,” but only $37,500 in economic damages); Husein v. Selma
                     27   Unified School District, 2010 WL 8672016, Case No. 08CECG03528, Superior
                     28   Court, Fresno County (Oct. 26, 2010) (verdict in wrongful termination and racial
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                      1   discrimination case for $110,000 in past and future “noneconomic damages,” but
                      2   about $70,000 in economic damages); Anthony Lave v. Charter Communications,
                      3   LLC, 2017 Jury Verdicts LEXIS 887, Case No. RIC1508865, Superior court,
                      4   Riverside County (May 19, 2017) (verdict in retaliation, wrongful termination,
                      5   intentional infliction of emotional distress and discrimination case for $575,000 for
                      6   emotional distress, and no award for back pay); Kareemah Mateen-Dradford v. City
                      7   of Compton et al., 2019 Jury Verdicts LEXIS 22932, Case No. TC026769, Superior
                      8   Court, Los Angeles County (June 11, 2019) (verdict in retaliation, wrongful
                      9   termination, and discrimination case for $655,000 for emotional distress, and no
                     10   award for back pay).
                     11           23.     Plaintiff is also seeking to recover his attorneys’ fees and costs
                     12   pursuant to California Government Code § 12965(b), 29 U.S.C. § 2617(a)(3) and
                     13   California Labor Code §§ 226.7 (Compl. at ¶¶ 22, 30, 39, 47, 59, and Prayer for
                     14   Relief.) It is well-settled that when authorized by statute, attorneys’ fees are to be
                     15   included in the calculation of the amount in controversy for purposes of
                     16   determining whether the requisite jurisdictional minimum is met. (Galt G/S v. JSS
                     17   Scandinavia, 142 F.3d 1150, 1156 (9th Cir. 1998) [“[W]here an underlying statute
                     18   authorizes an award of attorneys’ fees, either with mandatory or discretionary
                     19   language, such fees may be included in the amount in controversy”]; Brady v.
                     20   Mercedes-Benz USA, Inc., 243 F.Supp.2d 1004, 1010-11 (N.D. Cal. 2002) [in
                     21   deciding amount in controversy issue, a court may estimate the amount of
                     22   reasonable attorneys’ fees likely to be recovered by plaintiff if he were to prevail]).
                     23   Further, while Plaintiff’s attorneys’ fees cannot be precisely calculated from the
                     24   face of the Complaint, it is reasonable to assume that the amount of attorneys’ fees
                     25   Plaintiff could incur in the course of this matter may exceed a damages award.
                     26   (Simmons v. PCR Technology, 209 F.Supp.2d 1029, 1035 (C.D. Cal. 2002)).
                     27           24.     Recent estimates for the number of hours expended through trial for
                     28   single-plaintiff employment cases have ranged from 100 to 300 hours. (Sasso v.
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                      1   Noble Utah Long Beach, LLC, No. CV 14-09154-AB (AJWx), 2015 WL 898468,
                      2   *12 (C.D. Cal. March 3, 2015) (citations omitted)). As such, 100 hours is an
                      3   appropriate and conservative estimate. (Ibid.)
                      4           25.     The Court must take into account punitive damages for purposes of
                      5   determining the amount in controversy where such damages are recoverable under
                      6   state law. (Davenport v. Mutual Benefit Health and Accident Ass’n, 325 F.2d 785,
                      7   787 (9th Cir. 1963); Brady, 43 F.Supp.2d at 1009). California law does not provide
                      8   any specific monetary limit on the amount of punitive damages that may be
                      9   awarded under Civil Code § 3294. (Boyle v. Lorimar Productions, Inc., 13 F.3d
                     10   1357, 1360 (9th Cir. 1994)). A punitive damages award may equal as much as four
                     11   times the amount of the actual damages award. (State Farm Mutual Auto Ins. Co.
                     12   v. Campbell, 538 U.S. 408, 425 (2003); see also Simmons v. PCR Technology, 209
                     13   F.Supp.2d 1029 (N.D. Cal. 2002) [citing jury verdicts in which the punitive
                     14   damages awards ranged from $60,000 to $121,000,000]).
                     15           26.     Plaintiff also seeks open-ended relief as “such other relief and further
                     16   relief that the [Court] considers proper.” Although uncertain in amount, this
                     17   additional damages claim only serves to increase the amount in controversy. (See
                     18   Lewis v. Exxon Mobil Corp., 348 F.Supp.2d 932, 932-934 (W.D. Tenn. 2004) [the
                     19   “open ended” relief sought by plaintiff, who prayed for “judgment to be determined
                     20   by a jury, for all incidental, consequential, compensatory and punitive damages”
                     21   established that her case met the amount in controversy requirement even though he
                     22   pled in the complaint that he did not assert a claim in excess of $75,000].)
                     23           27.     Defendants deny that Plaintiff’s claims have any merit. Defendants
                     24   also deny that Plaintiff suffered any damages. However, when the relief sought
                     25   (i.e., back pay, front pay, unpaid wages, waiting time penalties, emotional distress,
                     26   attorneys’ fees, and punitive damages) is taken as a whole, the amount in
                     27   controversy for Plaintiff’s claims exceeds the $75,000 jurisdiction requirement,
                     28   exclusive of interest and costs.
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                      1           28.     Thus, this Court has original jurisdiction over the claims asserted by
                      2   Plaintiff in this action based on diversity of citizenship jurisdiction under 28 U.S.C.
                      3   §§ 1332(a)(1) and 1441(a).
                      4   IV.     THE NOTICE OF REMOVAL IS PROCEDURALLY CORRECT
                      5           29.     Pursuant to 28 U.S.C. § 1446(a), Defendants have attached to this
                      6   notice and the declaration of Paul M. Suh, all pleadings, process, orders, and all
                      7   other filings in the State Court Action. (Suh Decl. ¶¶ 4-7, Exs. A and B.)
                      8           30.     Plaintiff served a copy of the Complaint and the Summons on
                      9   Defendants’ agent for service of process on December 16, 2021. Therefore, this
                     10   Notice of Removal is timely filed under 28 U.S.C. § 1446(b).
                     11           31.     Defendants will promptly file and serve a Notice to Plaintiff and State
                     12   Court of Removal of Civil Action to the Clerk of Superior Court of California,
                     13   County of Orange. (See Suh Decl. ¶ 10, Ex. G.)
                     14           32.     As required by 28 U.S.C. §1446(d), Defendants will give notice of this
                     15   removal to Plaintiff. (Suh Decl. ¶ 10, Ex. G.)
                     16   V.      VENUE
                     17           33.     This action was brought and is pending before the Superior Court of
                     18   California, County of Orange.
                     19           34.     Orange County, California is located within the Central District of
                     20   California.
                     21           35.     Thus, venue is proper pursuant to 28 U.S.C. § 84(c)(2) because this is
                     22   the “district and division embracing the place where [Plaintiff’s] action is pending.”
                     23   (28 U.S.C. §1441(a), & 1446(a)).
                     24   ///
                     25   ///
                     26   ///
                     27   ///
                     28
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                      1   VI.     CONCLUSION
                      2           WHEREFORE, Defendants pray that the Court will remove this civil action
                      3   from the Superior Court of the State of California, Orange County, to the United
                      4   States District Court for the Central District of California. By removing the action
                      5   to this Court, Defendants do not waive any defenses, objections, or motions
                      6   available to it under state or federal law.
                      7
                      8   Dated: January 14, 2022                Respectfully submitted,
                      9
                     10                                          By:
                                                                   Allison V. Saunders
                     11                                            Paul M. Suh
                     12                                             Attorneys for Defendants, RHEEM SALES
                                                                    COMPANY, INC. and RHEEM
                     13                                             MANUFACTURING COMPANY
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                      1                                  PROOF OF SERVICE
                      2           I, Kathryn Bell-Taylor, declare:
                      3         I am a citizen of the United States and employed in Los Angeles County,
                          California. I am over the age 350 South Grand Avenue, Suite 2300, Los Angeles,
                      4   California 90071. On January 14, 2022, I served a copy of the within document(s):
                      5           NOTICE OF REMOVAL OF ACTION BY DEFENDANTS RHEEM
                                  SALES COMPANY, INC. AND RHEEM MANUFACTURING
                      6           COMPANY PURSUANT TO 28 U.S.C. §§ 1332, 1441 AND 1446
                      7      ELECTRONICALLY:          I caused a true and correct copy thereof to be
                              electronically filed using the Court's Electronic Court Filing ("ECF") System
                      8           and service was completed by electronic means by transmittal of a Notice of
                                  Electronic Filing on the registered participants of the ECF System. I served
                      9           those parties who are not registered participants of the ECF System as
                                  indicated below.
                     10
                     11      by e-mail or electronic transmission. Based on an agreement of the parties to
                              accept service by e-mail or electronic transmission, I caused the documents to
                                  be sent on the date shown below to the e-mail addresses of the persons listed
                     12           below. My e-mail address is ktaylor@fordharrison.com. I did not receive
                                  within a reasonable time after the transmission any electronic message or
                     13           other indication that the transmission was unsuccessful.
                     14      by placing the document(s) listed above in a sealed envelope with postage
                              thereon fully prepaid, in the United States mail at Los Angeles, California
                     15           addressed as set forth below. I am readily familiar with the firm's practice of
                                  collection and processing correspondence for mailing. Under that practice it
                     16           would be deposited with the U.S. Postal Service on that same day with
                                  postage thereon fully prepaid in the ordinary course of business. I am aware
                     17           that on motion of the party served, service is presumed invalid if postal
                                  cancellation date or postage meter date is more than one day after date of
                     18           deposit for mailing in affidavit.
                     19      by placing the document(s) listed above in a sealed FedEx Overnight
                              envelope and affixing a pre-paid air bill, and causing the envelope to be
                     20           delivered to a FedEx agent for delivery.
                     21
                     22            Heather McMillan                              Attorneys for Plaintiff
                                   Christopher Gavriliuc                         Michael Gosz
                     23            Stevens & McMillan
                                   335 Centennial Way
                     24            Tustin, CA 92780
                                   Telephone: 714-730-1000
                     25            Facsimile: 714-730-1067
                                   E-mail:    heather@scmclaw.com
                     26                       chris@scmclaw.com
                                              lena@scmclaw.com
                     27                       Calendar@scmclaw.com
                     28
                          WSACTIVELLP:12818907.2
F ORD & H ARRISON
       LLP
 ATTO RNEY S AT LAW
                                                                               NOTICE OF REMOVAL OF ACTION BY
    LOS A NG EL ES                                                      DEFENDANTS RHEEM SALES COMPANY, INC. &
                                                                               RHEEM MANUFACTURING COMPANY
                Case 8:22-cv-00085-SPG-JDE         Document 1 Filed 01/14/22      Page 13 of 13 Page ID
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                      1        I declare under penalty of perjury under the laws of the United States of
                          America that the above is true and correct.
                      2
                                Executed on January 14, 2022, at Los Angeles, California.
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                      5                                                     Kathryn Bell-Taylor
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F ORD & H ARRISON                                                             NOTICE OF REMOVAL OF ACTION BY
       LLP
 ATTO RNEY S AT LAW
                                                                       DEFENDANTS RHEEM SALES COMPANY, INC. &
    LOS A NG EL ES                                                           RHEEM MANUFACTURING COMPANY
